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                                                                                         FILED
                                                                                  November 25, 2024
                                                                                  CLERK, U.S. DISTRICT COURT
                           IN THE UNITED STATES DISTRICT COURT                    WESTERN DISTRICT OF TEXAS
                            FOR THE WESTERN DISTRICT OF TEXAS
                                                                                                cav
                                                                               BY: ________________________________
                                      WACO DIVISION                                                    DEPUTY

SBI CRYPTO CO., LTD.,

              Plaintiff,                        Civil Action No. 6:23-cv-252

       v.

WHINSTONE US, INC.,

              Defendant.



    DEFENDANT WHINSTONE US, INC.’S AMENDED ANSWER, AFFIRMATIVE
                  DEFENSES, AND COUNTERCLAIMS

       Defendant Whinstone US, Inc. (“Whinstone”) files this Amended Answer and Affirmative

Defenses to Plaintiff SBI Crypto Co., LTD.’s (“SBI”) Amended Complaint (“Complaint”) (ECF

No. 11) and Counterclaims against SBI.

                                      I. ANSWER

A. Parties

       1.     The allegations contained in paragraph 1 of the Complaint are legal conclusions to

which no response is required.

       2.     Whinstone admits the allegations contained in paragraph 2 of the Complaint.

B. Jurisdiction and Venue

       3.     The allegations contained in paragraph 3 of the Complaint are legal conclusions to

which no response is required.

       4.     The allegations contained in paragraph 4 of the Complaint are legal conclusions to

which no response is required.
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C. Factual Allegations

       5.      Whinstone admits the allegations contained in paragraph 5 of the Complaint.

       6.      Whinstone admits the allegations contained in paragraph 6 of the Complaint.

       7.      Whinstone admits that cryptocurrency mining can result in high electricity and

cooling costs and that mining equipment can be affected by power and environmental conditions.

Whinstone denies the remaining allegations contained in paragraph 7 of the Complaint.

       8.      Whinstone denies the allegations contained in paragraph 8 of the Complaint.

       9.      Whinstone admits the allegations contained in paragraph 9 of the Complaint.

       10.     Whinstone admits it entered into a hosting agreement with SBI. The terms of the

hosting agreement speak for themselves. Whinstone denies the remaining allegations contained

in paragraph 10 of the Complaint.

       11.     Whinstone admits it entered into a hosting agreement with SBI in July 2019 and

that the agreement was replaced by a later hosting agreement between the parties in October 2019.

The terms of the hosting agreement speak for themselves. Whinstone denies the remaining

allegations contained in paragraph 11 of the Complaint.

       12.     Whinstone admits the parties entered into a different hosting agreement in October

2019. Whinstone denies the allegations contained in paragraph 12 of the Complaint.

       13.     Whinstone denies the allegations contained in paragraph 13 of the Complaint.

       14.     Whinstone denies the allegations contained in paragraph 14 of the Complaint.

       15.     Whinstone denies the allegations contained in paragraph 15 of the Complaint.

       16.     Whinstone admits that it entered into a hosting agreement with SBI in July 2019.

Whinstone is without knowledge or information sufficient to form a belief as to the allegations

contained in paragraph 16 of the Complaint, so the allegations are denied.



DEFENDANT’S AMENDED ANSWER, AFFIRMATIVE DEFENSES,
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       17.     Whinstone admits that 20,000 Avalon A10 mining machines were sent to

Whinstone’s datacenter in Rockdale, Texas (the “Facility”). The terms of any purchase order

between SBI and Canaan, Inc. (“Canaan”) speak for themselves. Whinstone is without knowledge

or information sufficient to form a belief as to the allegations contained in paragraph 17 of the

Complaint, so the allegations are denied.

       18.     Whinstone admits that it entered into a hosting agreement with SBI in July 2019.

The terms of that agreement speak for themselves. The remaining allegations contained in

paragraph 18 of the Complaint are legal conclusions to which no response is required.

       19.     Whinstone denies the allegations contained in paragraph 19 of the Complaint.

       20.     Whinstone admits that it entered into a later hosting agreement with SBI in October

2019. The terms of that agreement speak for themselves. Whinstone denies the remaining

allegations contained in paragraph 20 of the Complaint.

       21.     Whinstone admits that SBI paid $9,685,000 to Whinstone. Whinstone denies the

remaining allegations contained in paragraph 21 of the Complaint.

       22.     The terms of the hosting agreement speak for themselves. Whinstone denies the

remaining allegations contained in paragraph 22 of the Complaint.

       23.     Whinstone denies the allegations contained in paragraph 23 of the Complaint.

       24.     Whinstone denies the allegations contained in paragraph 24 of the Complaint.

       25.     Whinstone denies the allegations contained in paragraph 25 of the Complaint.

       26.     Whinstone denies the allegations contained in paragraph 26 of the Complaint.

       27.     Whinstone denies the allegations contained in paragraph 27 of the Complaint.

       28.     The terms of the hosting agreement speak for themselves. Whinstone denies the

remaining allegations contained in paragraph 28 of the Complaint.



DEFENDANT’S AMENDED ANSWER, AFFIRMATIVE DEFENSES,
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       29.     Whinstone admits that some of SBI’s mining machines became operational in or

around June 2020 and the amount of such machines increased through August 2020. Whinstone

denies the remaining allegations contained in paragraph 29 of the Complaint.

       30.     Whinstone denies the allegations contained in paragraph 30 of the Complaint.

       31.     The terms of the hosting agreement speak for themselves. Whinstone denies the

remaining allegations contained in paragraph 31 of the Complaint.

       32.     Whinstone admits that SBI complained to Whinstone about the inadequate quality

and underperformance of the Canaan mining machines and power supply units that SBI used at

the facility, as supported by the diagnostic codes, logs, and instances of equipment failure that

Ashton Harris relayed to SBI and Canaan. Whinstone denies that Ashton Harris’ communications

with SBI and Canaan occurred in August or September 2020. Whinstone is without knowledge or

information sufficient to form a belief as to the allegations contained in paragraph 32 of the

Complaint, so the allegations are denied.

       33.     Whinstone admits that Ashton Harris communicated with SBI and Canaan by

providing diagnostic codes, logs, and instances of Canaan’s equipment failure between October

2020 and December 2020. Whinstone denies the remaining allegations contained in paragraph 33

of the Complaint.

       34.     Whinstone denies the allegations contained in paragraph 34 of the Complaint.

       35.     Whinstone admits that SBI purchased 4,000 power supply units in or around April

2021 for $72,000. Whinstone denies the remaining allegations contained in paragraph 35 of the

Complaint.

       36.     The terms of the hosting agreement speak for themselves. Whinstone denies the

remaining allegations contained in paragraph 36 of the Complaint.



DEFENDANT’S AMENDED ANSWER, AFFIRMATIVE DEFENSES,
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        37.    The terms of the hosting agreement speak for themselves.              The remaining

allegations contained in paragraph 37 of the Complaint are legal conclusions to which no response

is required.

        38.    Whinstone denies the allegations contained in paragraph 38 of the Complaint.

        39.    The terms of the hosting agreement speak for themselves. Whinstone denies the

remaining allegations contained in paragraph 39 of the Complaint.

        40.    Whinstone admits that Riot Platforms, Inc. (f/k/a Riot Blockchain, Inc.) (“Riot”)

announced it acquired Whinstone on May 26, 2021 and that Whinstone provided SBI with notice

of the hosting agreement’s termination on May 28, 2021. The terms of the hosting agreement

speak for themselves.

        41.    Whinstone admits that Carson Smith (“Smith”) of SBI visited the Facility on or

around June 10, 2021. Whinstone is without knowledge or information sufficient to form a belief

as to the allegation that this “was SBIC’s first visit to the facility after operations began,” so the

allegation is denied. Whinstone denies the remaining allegations contained in paragraph 41 of the

Complaint.

        42.    Whinstone denies the allegations contained in paragraph 42 of the Complaint.

        43.    Whinstone denies the allegations contained in paragraph 43 of the Complaint.

        44.    Whinstone admits that it hosts other customers at the Facility. Whinstone denies

the remaining allegations contained in paragraph 44 of the Complaint.

        45.    Whinstone is without knowledge or information sufficient to form a belief as to the

allegations contained in paragraph 45 of the Complaint, so the allegations are denied.

        46.    Whinstone admits that it provided SBI with notice of termination of the hosting

agreement on May 28, 2021, Smith visited the Facility on June 10, 2021, SBI’s mining machines



DEFENDANT’S AMENDED ANSWER, AFFIRMATIVE DEFENSES,
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were moved out of the Facility in July and August 2021. Whinstone is without knowledge or

information sufficient to form a belief as to the remaining allegations contained in paragraph 46

of the Complaint, so the allegations are denied.

       47.     Whinstone is without knowledge or information sufficient to form a belief as to

whether and what extent, if any, SBI looked to reuse the equipment, so the allegations are denied.

Whinstone denies the remaining allegations contained in paragraph 47 of the Complaint.

       48.     The terms of the hosting agreement speak for themselves. Whinstone denies the

remaining allegations contained in paragraph 48 of the Complaint.

       49.     The terms of the hosting agreement speak for themselves. Whinstone denies the

remaining allegations contained in paragraph 49 of the Complaint.

       50.     The terms of the hosting agreement speak for themselves. To the extent a further

response is required, Whinstone denies the remaining allegations contained in paragraph 50 of the

Complaint.

       51.     Whinstone admits that SBI untimely and purportedly tried to provide “notice” on

May 27, 2022 and June 3, 2022. The terms of the hosting agreement speak for themselves.

Whinstone denies the remaining allegations contained in paragraph 51 of the Complaint.

       52.     The terms of the hosting agreement speak for themselves. Whinstone denies the

remaining allegations contained in paragraph 52 of the Complaint.

       53.     Whinstone denies the allegations contained in paragraph 53 of the Complaint.

       54.     Whinstone is without knowledge or information sufficient to form a belief as to

whether and what extent, if any, SBI looked to store the equipment, so the allegations are denied.

Whinstone denies the remaining allegations contained in paragraph 54 of the Complaint.

       55.     Whinstone denies the allegations contained in paragraph 55 of the Complaint.



DEFENDANT’S AMENDED ANSWER, AFFIRMATIVE DEFENSES,
AND COUNTERCLAIMS                                                                               6
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         56.   Whinstone admits that 20,000 A10-model mining machines and certain power

supply units were shipped to the Facility. The terms of the hosting agreement speak for themselves.

Whinstone denies the remaining allegations contained in paragraph 56 of the Complaint.

         57.   The allegations contained in paragraph 57 of the Complaint are legal conclusions

to which no response is required.

         58.   The allegations contained in paragraph 58 of the Complaint are legal conclusions

to which no response is required.

         59.   Whinstone denies the allegations contained in paragraph 59 of the Complaint.

         60.   Whinstone denies the allegations contained in paragraph 60 of the Complaint.

         61.   The terms of the hosting agreement speak for themselves.            The remaining

allegations contained in paragraph 61 of the Complaint are legal conclusions to which no response

is required.

D. Causes of action

  i.     Count I – Breach of Contract

         62.   In response to the allegations contained in paragraph 62 of the Complaint,

Whinstone restates and reincorporates by reference herein the preceding paragraphs of this

Answer.

         63.   Whinstone admits that it entered into a hosting agreement dated October 24, 2019

with SBI. The remaining allegations contained in paragraph 63 are legal conclusions to which no

response is required.

         64.   Whinstone admits that 20,000 A10-model mining machines and certain power

supply units were shipped to the Facility. The terms of the hosting agreement speak for themselves.

Whinstone denies the remaining allegations contained in paragraph 64 of the Complaint.

         65.   Whinstone denies the allegations contained in paragraph 65 of the Complaint.

DEFENDANT’S AMENDED ANSWER, AFFIRMATIVE DEFENSES,
AND COUNTERCLAIMS                                                                                7
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         66.   The allegations contained in paragraph 66 of the Complaint are legal conclusions

to which no response is required.

         67.   The allegations contained in paragraph 67 of the Complaint are legal conclusions

to which no response is required.

         68.   The allegations contained in paragraph 68 of the Complaint are legal conclusions

to which no response is required.

 ii.     Count II – Fraud/Fraudulent Inducement

         69.   In response to the allegations contained in paragraph 69 of the Complaint,

Whinstone restates and reincorporates by reference herein the preceding paragraphs of this

Answer.

         70.   Whinstone denies the allegations contained in paragraph 70 of the Complaint.

         71.   The terms of the hosting agreement speak for themselves. Whinstone denies the

remaining allegations contained in paragraph 71 of the Complaint.

         72.   Whinstone denies the allegations contained in paragraph 72 of the Complaint.

         73.   Whinstone denies the allegations contained in paragraph 73 of the Complaint.

         74.   Whinstone denies the allegations contained in paragraph 74 of the Complaint.

         75.   Whinstone denies that it committed any fraudulent acts or omissions and acted

knowingly, intentionally, willfully, maliciously, or with wanton and gross negligence. The

allegations contained in paragraph 75 of the Complaint are legal conclusions to which no response

is required.

         76.   The allegations contained in paragraph 76 of the Complaint are legal conclusions

to which no response is required.




DEFENDANT’S AMENDED ANSWER, AFFIRMATIVE DEFENSES,
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 iii.     Count III – Fraud by Nondisclosure and Concealment

          77.   In response to the allegations contained in paragraph 77 of the Complaint,

Whinstone restates and reincorporates by reference herein the preceding paragraphs of this

Answer.

          78.   Whinstone denies the allegations contained in paragraph 78 of the Complaint.

          79.   The allegations contained in paragraph 79 of the Complaint are legal conclusions

to which no response is required.

          80.   Whinstone denies the allegations contained in paragraph 80 of the Complaint.

          81.   Whinstone denies the allegations contained in paragraph 81 of the Complaint.

          82.   Whinstone denies the allegations contained in paragraph 82 of the Complaint.

          83.   Whinstone denies that it committed any fraudulent acts or omissions and acted

knowingly, intentionally, willfully, maliciously, or with wanton and gross negligence. The

allegations contained in paragraph 83 of the Complaint are legal conclusions to which no response

is required.

          84.   The allegations contained in paragraph 84 of the Complaint are legal conclusions

to which no response is required.

E. Request for Attorneys’ Fees

          85.   The allegations contained in paragraph 85 of the Complaint are legal conclusions

to which no response is required.

                             II. AFFIRMATIVE DEFENSES

          86.   SBI’s claims fail, in whole or in part, because SBI fails to state claim for which

relief can be granted.

          87.   SBI’s claims fail, in whole or in part, because SBI failed to comply with the

required notice provision.

DEFENDANT’S AMENDED ANSWER, AFFIRMATIVE DEFENSES,
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          88.    SBI’s claims fail, in whole or in part, because SBI disclaimed reliance in the hosting

agreement.

          89.    SBI’s claims fail, in whole or in part, because of the hosting agreement’s integration

clause.

          90.    SBI’s claims fail, in whole or in part, because of prior material breach.

          91.    SBI’s claims fail, in whole or in part, because of the economic loss rule.

          92.    SBI’s claims fail, in whole or in part, because of accord and satisfaction, release,

and/or settlement.

          93.    SBI’s claims fail, in whole or in part, because of waiver.

          94.    SBI’s claims fail, in whole or in part, because of estoppel, equitable estoppel, and/or

quasi-estoppel.

          95.    SBI’s claims fail, in whole or in part, because Whinstone owed SBI no duty of

disclosure.

          96.    SBI’s claims fail, in whole or in part, because they are duplicative of each other.

          97.    SBI’s claims fail, in whole or in part, because Whinstone did not make any

misrepresentations or omissions of material fact.

          98.    SBI’s claims fail, in whole or in part, because of SBI’s own conduct.

          99.    SBI’s claims fail, in whole or in part, because of SBI’s fraud and/or fraudulent

inducement.

          100.   SBI’s claims fail, in whole or in part, because Whinstone did not proximately cause

SBI any harm.

          101.   SBI may not recover its alleged damages, in whole or in part, because of the hosting

agreement’s limitations of liability.



DEFENDANT’S AMENDED ANSWER, AFFIRMATIVE DEFENSES,
AND COUNTERCLAIMS                                                                                    10
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         102.   SBI may not recover its alleged damages, in whole or in part, because of offset.

         103.   SBI may not recover its alleged damages, in whole or in part, because of the one

satisfaction rule.

         104.   SBI may not recover its alleged damages, in whole or in part, because they are

speculative.

         105.   SBI may not recover its alleged damages, in whole or in part, because SBI failed to

mitigate its damages, if any.

         106.   SBI reserves the right additional defenses as they become known during the course

of discovery.

                                III. COUNTERCLAIMS

         Defendant/Counter-Plaintiff Whinstone asserts the following counterclaims against SBI.

A. Parties

         107.   Whinstone is as a Delaware corporation with its principal place of business located

in Rockdale, Texas.

         108.   SBI is a Japanese corporation with its principal place of business located in Tokyo,

Japan.

B. Jurisdiction and Venue

         109.   This Court has jurisdiction over Whinstone’s counterclaim pursuant to 28 U.S.C.

§ 1332(a) because complete diversity of citizenship exists and the amount in controversy exceeds

$75,000 exclusive of costs and interest.

         110.   Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because Whinstone is a

resident of this judicial district and a substantial part of the events or omissions giving rise to

Whinstone’s counterclaim occurred here.



DEFENDANT’S AMENDED ANSWER, AFFIRMATIVE DEFENSES,
AND COUNTERCLAIMS                                                                                  11
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C. Factual Background

       111.      On October 24, 2019, Whinstone and SBI entered into a hosting agreement

(“Hosting Agreement”) in which Whinstone agreed to permit SBI to mine cryptocurrency at

Whinstone’s facility (“Facility”) located in Rockdale, Texas. In so doing, Whinstone permitted

SBI to locate its cryptocurrency miners at Building B of the Facility, with Whinstone agreeing to

provide power and other hosting services in exchange for a fee—which was a minimum amount

each month.

       112.      The Hosting Agreement expressly permits Whinstone to terminate the contract

upon a change of control.

       113.      On May 28, 2021, Whinstone provided SBI with notice of termination pursuant to

that change of control provision. SBI does not contest the termination. Accordingly, Whinstone

removed SBI’s miners from Building B in June 2020, packed them up, and then shipped them to

SBI.

       114.      In winding up affairs on June 23, 2021, Jonathan Tanemori (“Tanemori”) SBI’s

General Manager at the time, emailed Chad Harris (“Harris”), Whinstone’s Chief Executive

Officer at the time, and stated:

       “In response to Whinstone’s termination letter dated May 28, 2021 . . . I write to
       provide you with the following information:

       1) SBI Crypto’s bank details; and

       2) Outstanding amounts regarding repayment from Whinstone to SBI Crypto
          under the Hosting Services Agreement.

           ...

       2) The outstanding amount . . . under the Hosting Agreement due SBI:
       $7,800,621.38.”




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       115.    Over the next month, Harris and Tanemori proceeded to exchange emails about

costs for shipping and logistics, which Harris intended to net out from the $7.8 million payment.

       116.    On July 25, 2021, Tanemori followed up:

       “As July 28, 2021 approaches, please kindly confirm the timing and amount of
       repayment to be made regarding settlement of the SBI Crypto hosting contract.

       I understand the cost of packing the miners may still be pending, but please be
       kindly reminded that the funds due SBI (the security deposit, one-time payment,
       and May/June prepayment adjustment) are due on July 28 in accordance with the
       hosting contract; i.e., thirty days after the termination of services under the hosting
       agreement.”

       117.    In response the next day, Harris noted that, while “Whinstone is ready to make the

payment,” there are still outstanding costs for 200+ shipping containers and a “final cost can not

be provided,” and reiterated that that the shipping costs will be “deducted from the payment.”

       118.    Tanemori replied by expressing his frustration and demanding that Whinstone

immediately pay approximately $7.3 million—or Whinstone would be in breach of the Hosting

Agreement:

       “To avoid creating the appearance that Whinstone is not fulfilling its obligations
       for settlement by July 28, 2021 based on the terms of the hosting contract, a
       suggestion would be that Whinstone remit the security deposit + interest
       portion, balance of one-time prepayment portion, and the May 2021
       adjustment amount for an initial remittance of $7,293,888.27.

       Adjustment for the full June prepayment amount ($508,470.52) can then be applied
       and adjusted once crate/shipping-related costs have been are agreed upon.

       ...

       Not remitting a bulk of what Whinstone is obliged to settle under the hosting
       agreement and stated to do so under your May 28 termination letter will raise
       concerns by our parent company and its legal/finance divisions.

       Certainly you would not intentionally breach contract nor disproportionately hold
       back $7.8M for crate and material costs, but how am I to explain this appearance
       internally if a bulk of the settlement amount is not remitted as obligated?




DEFENDANT’S AMENDED ANSWER, AFFIRMATIVE DEFENSES,
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       I remain confident in you that we can diffuse any potential issues quickly and
       professionally.”

       119.    Harris acted “quickly and professionally” by wiring the approximately $7.3 million

in reliance that all amounts due each party would be finally settled between the parties in a later

true-up.

       120.    In November and December 2021, SBI continued to express its intent to “settle

accounts between Whinstone and SBI Crypto.” In so doing, SBI noted the outstanding prepayment

issues and crating charges that needed to be netted against each other for final settlement.

       121.    After Harris provided SBI with “detailed documentation” reflecting the shipping

and crating charges, Tanemori reiterated SBI’s intent to “settle accounts” in February 2021 by

email. In response to Tanemori following up to “settle and close out accounts between us,” Harris

(who relied upon SBI’s representations of settlement) responded on March 3, 2022 that the

$236,129.12 netted payment due SBI was wired on March 1, 2021.

       122.    Unbeknownst to Whinstone, however, SBI planned to sue Whinstone after the

settlement payments were received. By way of example, on May 30, 2021 (i.e., prior to settlement

negotiations), Smith emailed Tanemori a presentation in which Smith highlighted SBI’s various

Hosting Agreement breaches in red and Whinstone’s purported breaches in green. In so doing,

Smith stated that SBI could pursue various breach of contract claims, including, a claim for

“damages for delayed start.” But, Smith admitted: “we may lose this to not claiming within 12

months of becoming aware.”

       123.    Importantly, one of the contract provisions that Smith identified in that email was

that SBI breached by not paying the minimum hosting fees. In further recognition of SBI’s

breach, Tanemori emailed Smith on June 20, 2021 a calculation showing that SBI believed that at




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least $4,893,327.91 was due Whinstone due to SBI’s breach of the Hosting Agreement’s

minimum payment.

        124.    After Whinstone wired SBI the final settlement payment, SBI enacted its plan.

Specifically, despite the parties’ settlement, on June 3, 2022, SBI demanded approximately $62

million for alleged breaches of the Hosting Agreement. Not only were these claims settled, man

are contractually barred.

        125.    In response on July 11, 2022, Whinstone rejected SBI’s demand and reminded SBI

that the parties had settled their disputes.

        126.    Despite the parties’ settlement detailed above, SBI breached the agreement by filing

this lawsuit on April 5, 2023 seeking damages for settled claims.

D. Count I: Breach of the Settlement Agreement

        127.    Whinstone incorporates the allegations of the above paragraphs are incorporated as

if fully stated herein.

        128.    Between June 2021 and March 2022, Whinstone and SBI negotiated and agreed to

finally “settle and close accounts between us.”

        129.    Whinstone was ready, willing, and able to perform the parties’ settlement

agreement, and, in fact did so, by wiring SBI approximately $7.3 million in July 2021 and the $236

thousand in March 2021. In so doing, Whinstone gave up valuable rights including at least $4.8

million—as calculated by SBI—for SBI’s breaches of the Hosting Agreements.

        130.    By suing Whinstone and initiating this lawsuit, SBI breached and/or repudiated the

parties’ settlement agreement. As a result, Whinstone has been damaged. Therefore, Whinstone

seeks specific performance of the parties’ settlement agreement by requesting the Court to dismiss

SBI’s claims due to their being no other adequate remedy at law, plus an award of reasonable



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attorneys’ fees and costs. Alternatively, Whinstone seeks its benefit-of-the-bargain damages, pre-

and post-judgment interest, reasonable attorneys’ fees, and costs.

E. Count II: Fraudulent Inducement

        131.    Whinstone incorporates the allegations of the above paragraphs are incorporated as

if fully stated herein.

        132.    In the alternative, SBI represented that the settlement agreement would “settle and

close accounts between us.” However, these statements were false at the time they were made—

as SBI already developed a plan to sue Whinstone—and intended that Whinstone rely upon them.

SBI never disclosed these material facts to Whinstone and engaged in misleading conduct.

        133.    In reliance on SBI’s representations, Whinstone wired approximately $7.3 million

and $236 thousand to SBI in July 2021 and March 2022, respectively.

        134.    Whinstone’s reliance has caused it injury given SBI filing this lawsuit. Whinstone

therefore seeks recission of the settlement agreement and a return of the more than $7.5 million

paid by Whinstone to SBI thereunder, plus costs and punitive damages. Alternatively, Whinstone

seeks its benefit-of-the-bargain damages, plus costs and punitive damages.

F. Attorneys’ Fees

        135.    Whinstone incorporates the allegations of the above paragraphs are incorporated as

if fully stated herein.

        136.    Due to SBI’s breach of the settlement agreement, Whinstone is entitled to its

reasonable attorneys’ fees pursuant to Texas Civil Practice & Remedies Code Chapter 38.

G. Punitive Damages

        137.    Whinstone incorporates the allegations of the above paragraphs are incorporated as

if fully stated herein.



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          138.   Pursuant to Texas Civil Practice & Remedies Code Section 41.003, Whinstone

seeks recovery of punitive damages against SBI for its malicious conduct.

                             IV. CONDITIONS PRECEDENT

          139.   Whinstone incorporates the allegations of the above paragraphs are incorporated

as if fully stated herein.

          140.   Whinstone denies that SBI has performed all conditions precedent to support its

claims.

          141.   All conditions precedent concerning Whinstone’s claims have been performed,

excused, and/or waived.

                                     V. JURY DEMAND

          142.   Whinstone demands a trial by jury on all issues of fact.

                                VI. REQUESTED RELIEF

          Whinstone requests that SBI take nothing on its claims, enter judgment in favor of

Whinstone, and award Whinstone all such other relief to which it is entitled.




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                                                  Respectfully submitted,

                                                  F OLEY & L ARDNER LLP

                                                  By: /s/ Robert T. Slovak
                                                      Robert T. Slovak
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on November 21, 2024, a copy of the foregoing document was filed

electronically and a notice will be sent by operation of the Court’s electronic filing system to all

parties indicated on the electronic filing receipt.

                                                        /s/ Brandon C. Marx
                                                        Brandon C. Marx




DEFENDANT’S AMENDED ANSWER, AFFIRMATIVE DEFENSES,
AND COUNTERCLAIMS                                                                                18
